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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

LYNNEL COX, as administrator of the Estate
of Shayne R. Stilphen,

              Plaintiff,

v.
                                             Civil Action No. 1:22-cv-11009-RGS
CITY OF BOSTON, ISMAEL ALMEIDA,
PAULMICHAEL BERTOCCHI, CATIA
FREIRE, and BRIAN PICARELLO,

              Defendants.




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                           PLAINTIFF’S TRIAL MEMORANDUM

       In accordance with the Court’s Order Setting Civil Case for Jury Trial, dated May 15, 2024,

Plaintiff Lynnel Cox, as administrator of the Estate of Shayne R. Stilphen, hereby submits the

following Trial Memorandum addressing foreseeable disputes concerning issues of law. These

issues include: (1) whether the objective-reasonableness or deliberate-indifference standard

applies to the § 1983 claims, (2) whether foreseeable intervening events break the chain of

causation, and (3) what damages are available in this case.

                                         LEGAL ISSUES

I.     Whether the officers’ denial of Shayne’s constitutional right to adequate medical care
       should be determined under the objective-reasonableness standard.

       To state a claim under 42 U.S.C. § 1983, “a plaintiff must allege the violation of a right

secured by the Constitution and laws of the United States, and must show that the alleged

deprivation was committed by a person acting under color of state law.” West v. Atkins, 487 U.S.

42, 48 (1988). With respect to pretrial detainees raising claims of excessive force, the Supreme

Court has made clear that pretrial detainees need only show that the defendants’ actions were

“objectively unreasonable.” Kingsley v. Hendrickson, 576 U.S. 389, 396 (2015). Although the First

Circuit has not yet considered whether this standard applies to all pretrial detainees, this Court

should join the growing majority of circuit courts and apply the objective-reasonableness standard,

rather than the deliberate-indifference standard, to Plaintiff’s § 1983 claim.1

       The Fourteenth Amendment’s Due Process Clause governs pretrial detainees’ claims, see

Gaudreault v. Municipality of Salem, 923 F.2d 203, 208 (1st Cir. 1990), and “provides at least as

much protection for pretrial detainees as the Eighth Amendment provides for convicted inmates,”


1
  Plaintiff also raised this question at summary judgment, ECF No. 95 at 11-13. The Court
determined “it need not attempt to resolve the issue” at the summary judgment phase “[b]ecause
Cox could prevail under either standard.” ECF No. 104 at 11.

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Ruiz-Rosa v. Rullan, 485 F.3d 150, 155 (1st Cir. 2007). Under the Eighth Amendment, convicted

prisoners must establish that they “face[d] a substantial” and objective “risk of serious harm” and

that the defendant subjectively knew of and “disregard[ed] that risk by failing to take reasonable

measures to abate it.” Farmer v. Brennan, 511 U.S. 825, 847 (1994); see also Helling v. McKinney,

509 U.S. 25, 35-37 (1993) (discussing “the subjective and objective elements necessary to prove

an Eighth Amendment violation”). The subjective “intent requirement” comes from “the Eighth

Amendment itself, which bans only cruel and unusual punishment.” Wilson v. Seiter, 501 U.S. 294,

300 (1991) (emphasis in original). Accordingly, “[i]f the pain inflicted is not formally meted out

as punishment by the statute or the sentencing judge, some mental element must be attributed to

the inflicting officer before it can qualify” as cruel and unusual. Id. (emphasis omitted).

       This focus on punishment, however, has no place in the pretrial context, given that “pretrial

detainees (unlike convicted prisoners) cannot be punished at all.” Kingsley, 576 U.S. at 400.

Indeed, “proof of intent (or motive) to punish” is not “required for a pretrial detainee to prevail on

a claim that his due process rights were violated.” See id. at 398. Instead, “the appropriate standard

for a pretrial detainee’s excessive force claim is solely an objective one.” Id. at 397. In other words,

a pretrial detainee alleging excessive force “must show only that the force purposely or knowingly

used against him was objectively unreasonable.” Id. at 396-97. Kingsley’s objective standard is

“consistent with [the Supreme Court’s] precedent,” which has recognized for decades that pretrial

detainees may state a due process claim against “a variety of prison conditions,” not solely

excessive force, under an “objective standard.” Id. at 397-98 (citing Bell v. Wolfish, 441 U.S. 520,

541-43 (1979)). In keeping with Bell’s application of an “objective standard to evaluate a variety

of prison conditions,” the Supreme Court in Kingsley noted that “a pretrial detainee can prevail by

providing only objective evidence that the challenged governmental action is not rationally related




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to a legitimate governmental objective or that it is excessive in relation to that purpose.” Id.

(emphasis added).

       The “Supreme Court’s ruling in Kingsley … upends the assumption that Fourteenth

Amendment Due Process Clause claims should be treated the same as Eighth Amendment claims.”

Short v. Hartman, 87 F.4th 593, 608 (4th Cir. 2023); see also Darnell v. Pineiro, 849 F.3d 17, 30

(2d Cir. 2017) (“Kingsley altered the standard for deliberate indifference claims under the Due

Process Clause.”). More specifically, Kingsley’s focus on how pretrial detainees cannot be

punished at all and references to “challenged governmental actions” indicate that Kingsley’s

objective-reasonableness standard applies more broadly than to solely excessive-force claims. See

Kingsley, 576 U.S. at 398; see also Short, 87 F.4th at 605-06 (“The fact that Kingsley refers broadly

to ‘challenged governmental action’ and speaks of claims under the Fourteenth Amendment

generally, coupled with its heavy reliance on Bell v. Wolfish, demonstrate that Kingsley’s objective

standard extends not just to excessive force claims; it applies equally to deliberate indifference

claims.”). Indeed, as the Fourth Circuit has recognized, “Kingsley is irreconcilable with precedent

requiring pretrial detainees to meet a subjective standard to succeed on claims under the Fourteenth

Amendment for prison officials’ deliberate indifference to excessive risks of harm to the inmate.”

Short, 87 F.4th at 605; see also id. at 605 n.8 (noting that four other circuits “adopted Kingsley’s

purely objective test, without considering the question en banc,” meaning that “[t]hey thus

recognized … that Kingsley mandates a departure from prior circuit precedent”).

       The majority of Courts of Appeals to have expressly considered this question have

recognized as much. In Short, the Fourth Circuit acknowledged that it had previously applied a

“subjective deliberate indifference test for Fourteenth Amendment claims” but changed its

approach because Kingsley “reiterated that a pretrial detainee may state a claim under the




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Fourteenth Amendment by satisfying [the] objective standard.” 87 F.4th at 608. The Seventh

Circuit likewise highlighted Kingsley’s focus on the distinction between pretrial detainees and

convicted prisoners and held that “medical-care claims brought by pretrial detainees under the

Fourteenth Amendment are subject only to the objective reasonableness inquiry identified in

Kingsley,” Miranda v. Cnty. of Lake, 900 F.3d 335, 352 (7th Cir. 2018)—a holding that the Second,

Sixth, and Ninth Circuits have similarly adopted. See Brawner v. Scott Cnty., 14 F.4th 585, 596

(6th Cir. 2021) (“A pretrial detainee must prove ‘more than negligence but less than subjective

intent—something akin to reckless disregard.’” (quoting Castro v. Cnty. of Los Angeles, 833 F.3d

1060, 1071 (9th Cir. 2016) (en banc))); Gordon v. Cnty. of Orange, 888 F.3d 1118, 1124-25 (9th

Cir. 2018) (holding that objective-reasonableness standard applies to pretrial detainees’ “claims

for violations of the right to adequate medical care”); Darnell, 849 F.3d at 34-36 & n.9

(“[D]eliberate indifference should be defined objectively for a claim of a due process violation.”).

       The minority of circuit courts that have expressly cabined Kingsley to excessive-force

claims and continue to apply a subjective deliberate-indifference standard to pretrial detainees’

claims all fail to grapple with the core tenants of Kingsley. Three of these circuits—the Fifth,

Eighth, and Eleventh—have only addressed Kingsley in footnotes “with minimal analysis.”2 See

Cope v. Cogdill, 3 F.4th 198, 207 n.7 (5th Cir. 2021); Whitney v. City of St. Louis, 887 F.3d 857,

860 n.4 (8th Cir. 2018); Dang ex rel. Dang v. Sheriff, Seminole Cnty., 871 F.3d 1272, 1279 n.2

(11th Cir. 2017).3 The only other Court of Appeal that has considered Kingsley and rejected the



2
  Brawner v. Scott Cnty., 14 F.4th 585, 593 (6th Cir. 2021) (discussing Fifth, Eighth, and Eleventh
Circuits’ contrary holdings)
3
  As one court has noted, “[e]ach of these cases contains a dearth of reasoning, whether it is the
Eighth Circuit’s assertion without reason that Kingsley is limited to excessive force claims, or the
Fifth and Eleventh Circuits’ rote application of a circuit rule.” Love v. Franklin Cnty., 376 F. Supp.
3d 740, 746 (E.D. Ky. 2019); see also Short, 87 F.4th at 610 n.9 (noting that these “[t]hree …
circuits have retained the subjective test with little analysis or none at all”).


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objective reasonableness standard is the Tenth Circuit in Strain v. Regalado, 977 F.3d 984 (10th

Cir. 2020). Yet the Tenth Circuit’s reasoning that the Supreme Court “said nothing to suggest it

intended to extend that [objective] standard to pretrial detainee claims generally or deliberate

indifference claims specifically,” Strain, 977 F.3d at 991, ignores Kingsley’s extensive discussion

of the differences between Fourteenth and Eighth Amendment claims and how the objective

standard is “consistent with [the Supreme Court’s] precedent.” See Kingsley, 576 U.S. at 397-400.4

Indeed, as the Fourth Circuit recognized, Strain’s reasoning is “spurious,” “unpersuasive” and

would incorrectly “reduce[] Kingsley’s reasoned judgment to an arbitrary fiat.” Short, 87 F.4th at

610-611.

       “Kingsley is clear: The Fourteenth Amendment Due Process Clause protects pretrial

detainees from ‘governmental action’ that is not ‘rationally related to a legitimate nonpunitive

governmental purpose’ or that is ‘excessive in relation to that purpose.’” Short, 87 F.4th at 608-09

(quoting Kingsley, 576 U.S. at 398). “That test is ‘solely an objective one.’” Id. at 609 (quoting

Kingsley, 576 U.S. at 397). Although the First Circuit has not yet considered the application of

Kingsley to claims involving medical care, the First Circuit has recognized, independent of

Kingsley, that the deliberate-indifference standard represents the floor, not the ceiling, of

protection for pretrial detainees. See Miranda-Rivera v. Toledo-Davila, 813 F.3d 64, 74 (1st Cir.

2016) (“The boundaries of this duty [to provide medical care] have not been plotted exactly;

however, it is clear that they extend at least as far as the protection that the Eighth Amendment

gives to a convicted prisoner.” (quoting Gaudreault, 923 F.2d at 208)). 5 This Court is accordingly



4
  Strain’s other arguments are equally flawed. Cf. Short, 87 F.4th at 610-11 (discussing and
rejecting Strain’s rationale).
5
  District Courts in this circuit have been divided on which standard to apply. Compare e.g., Yanes
v. Martin, 464 F Supp. 3d 467, 469 n.3 (D.R.I. 2020) (“[T]he Kingsley standard of ‘objective



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not bound by the deliberate-indifference standard and should join the growing majority of circuit

courts in applying the objective-reasonableness standard to this case.

II.    This case presents a potential for juror misunderstanding of principles of causation
       that warrants particular attention.

       Because this case presents potential for juror confusion regarding the legal requirements

for causation, in this section Plaintiff addresses some considerations for instructing the jury.

       A.      The applicable principles of causation demonstrate that Shayne’s
               consumption of drugs in cell 19 negates neither factual cause nor scope of
               liability.
       This is a case in which the jurors’ colloquial understanding of what it means to ‘cause’

something—particularly, a death by overdose—might significantly differ from the legal

requirements of ‘causation’ that must be applied in determining liability. Jurors might understand

an overdose death to be ‘caused,’ in a lay sense, only by the consumption of drugs. And Defendants

may intend to make arguments that would reinforce that lay understanding by stating, as they did

at summary judgment, that “Shayne Stilphen’s death was caused by one person – Shayne

Stilphen.” ECF No. 85 at 2; see also id. at 3 (“Stilphen’s decision to take drugs in the cell was the

cause of his death . . . .” (emphasis added)), 20 (“Shayne Stilphen caused his own death when he

surreptitiously ingested the drugs that killed him while he was in the cell.”).6

       An important focus of Defendants’ arguments about causation, and an area of potential

confusion for the jury, is the impact of Shayne’s consumption of drugs in cell 19 on the causation

analysis in this case. Defendants contend that it was the drugs that Shayne consumed in cell 19,



reasonableness’ is the appropriate one to be applied to an action like this brought by civil detainees
….”), with Couchon v. Cousins, 2018 WL 4189694, at *6 (D. Mass. Aug. 31, 2018)
(acknowledging that “there is much to be said for the reasoning of the Second and Ninth Circuits”
but explaining that “in the absence of a Supreme Court decision squarely on point, this court is
bound by existing precedent in the First Circuit”).
6
  Plaintiff is also submitting a motion in limine to preclude argument to the jury that is inconsistent
with the law of causation.


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and not the drugs that he had consumed prior to his arrest, that killed him. ECF No. 85 at 20. On

that basis, they argue that the consumption of drugs in cell 19 was an “intervening event[]” and

there was “no causation between any act of a BPD Officer and Stilphen’s death from a drug

overdose.” Id. (quotation marks and citations omitted). This argument rests on a disputed fact, as

Plaintiff’s medical expert has testified that Shayne’s intoxication at booking could have progressed

to overdose for a range of reasons, only one of which was ingesting additional drugs. ECF Nos.

96 at 68 ¶ 82; 97-17 at 84:19-85:3. But more importantly, under the applicable principles of

causation explained below, Shayne’s consumption of drugs in cell 19—even if they were

determined to be the drugs that killed him—does not negate the ‘factual cause’ or ‘scope of

liability’ components of causation.

       Causation in § 1983 claims is “based on basic notions of tort causation,” and “may be

fleshed out with reference to state tort law principles.” Rodriguez-Cirilo v. Garcia, 115 F.3d 50,

52 (1st Cir. 1997). That analysis has two parts: a defendant’s conduct must be a factual cause of

the harm, and that harm must be within the “scope of liability” for a defendant’s conduct

(sometimes referred to as “proximate cause”). See Restatement (Third) of Torts: Phys. & Emot.

Harm §§ 26, 29 (Am. L. Inst. 2010) (June 2024 update); see also Doull v. Foster, 487 Mass. 1, 7

(2021).7

       Factual Cause: The first component of causation, factual cause, is satisfied when a

defendant’s action or failure to act was a but-for cause of his death. “[T]here is no requirement that

a defendant must be the sole factual cause of a harm.” Doull, 487 Mass. at 12 (emphasis added).




7
 These same components of causation are required for Plaintiff’s wrongful death claim. See ECF
No. 104 at 18-19 & n.14 (Court will instruct in accordance with involuntary manslaughter); Kligler
v. Att’y Gen., 491 Mass. 38, 51 (2022) (ordinary standards of causation apply in involuntary
manslaughter).


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Instead, the question is “whether, in the absence of a defendant’s conduct, the harm still would

have occurred.” Id. at 12-13.

       Factual cause is “not a high bar.” Id. at 13. If any Defendant had responded to Shayne’s

signs of intoxication during booking by summoning medical care or monitoring Shayne for signs

of overdose, Shayne would not have died. Similarly, had either of the Defendants who saw Shayne

overdosing after 4:48 AM (Almeida or Picarello) intervened to check on Shayne and administer

Narcan, Shayne would not have died. See ECF No. 97-22 at 39 ¶ 123. Because the Defendants’

conduct need only be “a factual cause” of harm, “the existence of other causes”—including

Shayne’s own consumption of drugs—“does not affect” the factual cause analysis. See

Restatement (Third) of Torts, § 26, Comment c.

       Scope of Liability: The second component of causation, scope of liability, is satisfied when

the harm a plaintiff suffered “result[ed] from the risks that made [a defendant’s] conduct tortious.”

Id. § 29; see also Doull, 487 Mass. at 7. If a plaintiff’s harm “arose from the same general type of

danger,” that defendants should have (and did not) take steps to avoid, then it is within the scope

of liability for the defendant’s conduct. Restatement (Third) of Torts § 29, Reporters’ Note,

Comment b. Scope of liability must be given particularly broad meaning when a defendant’s

conduct is reckless or wanton, rather than merely negligent. See id. § 33, Comment a; Johnson v.

Summers, 411 Mass. 82, 89 (1991); Davis v. United States, 670 F.3d 48, 56 (1st Cir. 2012).8

       Here, if the jury finds that any of the Defendants acted in a tortious matter, then Shayne’s

overdose would readily fall within the Defendants’ scope of liability. For example, if the jury finds

that Shayne’s intoxication at booking was a serious medical need and that the Defendants’ failure




8
 The deliberate indifference standard—to the extent the Court finds it applies here—is akin to
recklessness. See ECF No. 104 at 12; Burrell v. Hampshire Cnty., 307 F.3d 1, 8 (1st Cir. 2002).


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to provide care or monitoring was objectively unreasonable (or deliberately indifferent) in light of

that need, that finding would necessarily be based, at a minimum, on the Defendants’ insufficient

response to the danger that Shayne would overdose—the very harm that occurred. So too with

regard to the failure of Officers Picarello and Almeida to intervene to save Shayne when they saw

him after 4:48 AM in the position in which he ultimately died. If a jury concludes that their failure

to intervene was objectively unreasonable (or deliberately indifferent), that finding would

necessarily be based on the risk that Shayne was overdosing, or otherwise in medical distress.

Because in either scenario Shayne’s death “arose from the same general type of danger” that the

jury found rendered the Defendants’ conduct objectively unreasonable (or deliberately indifferent),

it is readily within the scope of liability for that conduct.

        Defendants contend Shayne’s consumption of drugs in cell 19 is an “intervening event[].”

ECF No 85 at 20 (quotation marks and citations omitted). But although Shayne’s consumption of

drugs was “intervening” in a temporal sense with regard to officers at booking, the scope of

liability analysis is exactly the same. As the Restatement makes clear, the scope of liability inquiry

is not altered even when another factual cause comes later in time. Restatement (Third) of Torts

§§ 29, 34. Instead, the scope of liability question remains whether Shayne’s death “result[ed] from

the risks that made [a Defendant’s] conduct tortious.” Id.

        Even if the jury determines that the drugs Shayne had in his body at the time of booking

were not the drugs that killed him, therefore, this does not mean that plaintiffs would need to

establish that it was foreseeable that Shayne would take more drugs in cell 19. While Plaintiff

anticipates that the evidence will amply show the foreseeability of Shayne’s drug use in cell 19,

including because of the recent death of Cristhian Geigel, such a demonstration is sufficient, but

not necessary, to establish scope of liability. Scope of liability would be established even if




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Shayne’s additional drug use were not specifically foreseeable, if the jury determines that one of

the risks that rendered the defendants’ actions tortious at booking was a danger of overdose, and

that Shayne’s death resulted from that same general type of risk. Restatement (Third) of Torts §§

29, 34; Jupin v. Kask, 447 Mass. 141, 149 n.8 (2006). Plaintiff anticipates the answer to that

question will manifestly be yes.

       Defendants’ argument appears to be that Shayne’s death would be within the scope of

liability only if it was caused by the drugs that Shayne had consumed prior to booking, and not any

others. But that fine parsing of their scope of liability finds no support in the law. As the Supreme

Judicial Court explained employing the rubric of reasonable foreseeability used to analyze the

“scope of liability” in negligence cases, a plaintiff need not show “the precise sequence of events

or manner of injury [was] foreseeable.” Jupin, 447 Mass. at 149 n.8. Instead, “[i]t is sufficient that

the same general kind of harm was a foreseeable consequence of the defendant’s risk-creating

conduct.” Id. If such reasoning applies to the narrower scope of liability in negligence cases, then

it is amply sufficient under the broader scope of liability for deliberate indifference or reckless and

wanton conduct that the Defendants’ objectively unreasonable conduct (and their deliberate

indifference) created a foreseeable risk that Shayne would die of an overdose and Shayne suffered

that same “general kind of harm.” Id.

       Finally, Shayne’s consumption of drugs in his cell was not in any sense “intervening” as

to the conduct of Officers Almeida and Picarello after 4:48 AM. At that point, Shayne had already

taken the additional drugs, the Defendants do not dispute that Shayne had a serious medical need,

ECF No. 85 at 14, and Officers Almeida and Picarello walked by or saw Shayne a combined five

times without taking any steps to provide him aid. If a jury finds that their conduct was objectively

unreasonable (or deliberately indifferent) and a factual cause of Shayne’s death, scope of liability




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is satisfied because Shayne’s death arose from the identical dangers that made their conduct

unreasonable (or deliberately indifferent).

       B.      Instruction on causation consistent with the Restatement (Third) of Torts will
               aid the jury in overcoming potential confusion regarding how to determine
               whether Defendants’ failure to take appropriate action caused Shayne’s
               overdose death.

       This case involves a significant risk that jurors’ could apply their pre-existing, colloquial

understanding of what a ‘cause’ is rather than the legal requirements of causation for Plaintiff’s

claims. Because the juror’s lay understanding of the ‘cause’ of an overdose death might not

encompass the legal idea that officers could have ‘caused’ an overdose death by failing to take

action to prevent it, proper and careful instruction on causation is vital. Massachusetts courts and

the First Circuit have repeatedly relied on the Restatement of Torts to analyze causation in tort and

§ 1983 cases.9 Plaintiffs has proposed jury instructions consistent with the Restatement (Third) of

Torts, which provides a useful framework for avoiding these pitfalls and providing the clearest

instruction to the jury on matters of causation.

       First, any instruction should reflect the broader scope of liability for reckless and wanton

conduct that is at issue in this case. Restatement (Third) of Torts, § 33. “[A]n actor who

intentionally or recklessly causes harm is subject to liability for a broader range of harms than the

harms for which that actor would be liable if only acting negligently.” Id. § 33 & Comment e. See

Johnson, 411 Mass. at 89 (citing Restatement (Second) of Torts for proposition that, “misconduct

in reckless disregard of another’s safety is to be taken into account in determining whether a jury

case on causation has been made out”); Davis, 670 F.3d at 56 (“[t]he fact that the actor’s



9
 See Doull, 487 Mass. at 16-17 & n.21 (noting Supreme Judicial Court of Massachusetts relies
on the Restatement “not because it is fashionable to do so,” but because of the American Law
Institute’s thoughtful inquiry into questions of causation); Johnson, 411 Mass. at 89; Davis, 670
F.3d at 56.


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misconduct is in reckless disregard of another’s safety rather than merely negligent is a matter to

be taken into account in determining whether a jury may reasonably find that the actor’s conduct

bears a sufficient causal relation to another's harm to make the actor liable therefor.”) (quoting

Restatement (Second) of Torts § 501 (Am. L. Inst. 1965)).

       Second, a scope of liability instruction should avoid language that asks a jury to determine

whether the Defendants’ conduct was a “proximate cause” of Shayne’s death, or produced his

death “in a natural and continuous sequence.” As the Restatement has emphasized, the term

“proximate cause” is “unfortunate” and “confusing” because it wrongly “implies that there is but

one cause” and erroneously suggests a preference for causes that are “nearest in time.” Id.; see also

id. § 29, Reporters’ Note, Comment b (citing studies demonstrating juror confusion with the term

“proximate cause”). Similarly, requiring a “natural and continuous sequence” misses the “essential

concern” of a scope of liability inquiry, i.e., the relatedness of the ultimate harm to the danger that

rendered a defendant’s conduct tortious. See id. at § 29, Reporters’ Note, Comment b. Both terms

should be avoided because they are readily subject to being interpreted in a way that is inconsistent

with the actual legal requirements for causation. And given the Defendants’ likely focus on

Shayne’s consumption of drugs in cell 19, language suggesting a need for proximity and/or

continuity would be particularly likely to confuse the jury.10




10
   The “natural and continuous sequence” language appears in Massachusetts’ model jury
instructions on involuntary manslaughter as a description of the scope of liability component of
causation. Model Jury Instructions on Homicide, mass.gov/law-library/model-jury-instructions-
on-homicide (2018). Although the Plaintiff takes no position on whether the “natural and
continuous sequence” language could be an appropriate limitation on criminal liability, in the civil
context the phrase has “no apparent reason other than historical anomaly” and does not accurately
express tort law principles of causation. Restatement (Third) of Torts, § 29, Reporters’ Note,
Comment b.


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       Third, any language asking jurors to evaluate an “intervening” cause should clarify the

appropriate scope of this inquiry. As the Restatement notes, instructions asking the jury to

determine the foreseeability of an “intervening” event “risk[] being misunderstood” because they

“deflect[s]” the jury’s attention away from the “crux” of the scope of liability inquiry. Id. § 29

Comment j. As articulated above, Plaintiff anticipates that the evidence will amply show the

foreseeability of Shayne’s drug use in cell 19, see supra, but focusing the jury’s attention on that

foreseeability question risks unduly limiting the scope of liability for the Defendants’ conduct. The

relevant legal question is whether the harm was “the same general kind of harm [that] was a

foreseeable consequence of the defendant’s risk-creating conduct,” not whether the specific

intervening event was foreseeable. See Jupin, 447 Mass. at 149 n.8 (“sequence of events” and

“manner of injury” need not be foreseeable).

III.   Whether hedonic damages are included in the suite of compensatory damages
       available for Plaintiff’s Section 1983 claim.

       Plaintiff claims that Shayne lost his life as a result of Defendants’ actions and inactions

depriving Shayne of his rights under the federal Constitution. If the jury agrees and finds for

Plaintiff on her § 1983 claim, Plaintiff should be permitted to recover monetary damages designed

to capture the value of what was lost: Shayne’s life. Damages for loss of enjoyment of life are

often referred to as “hedonic damages.” Black’s Law Dict. 446 (9th ed. 2009). Because hedonic

damages further § 1983’s core purposes, they should be available on such claims.11




11
  If hedonic damages are not provided as an avenue of relief, Plaintiff’s compensatory damages
award on her § 1983 claim would be limited to the damages articulated in the Massachusetts
Wrongful Death Act, including loss of consortium, reasonable funeral and burial expenses, and
loss of Shayne’s reasonably expected net income, Mass. Gen. Laws ch. 229, § 2, the last of which
could be as low as approximately $100,000, reflecting Shayne’s lost earnings net of taxes and the
amount Shayne would have spent on himself over the course of his life.


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       Although Massachusetts does not recognize post-death hedonic damages as a matter of

state law, other states do,12 and there should be no dispute that the statutory framework for § 1983

claims permits this Court to award hedonic damages on Plaintiff’s federal claim here. The Act is

clear that state law should provide the framework for damages “only if it is not inconsistent with

the Constitution and laws of the United States.” Burnett v. Grattan, 468 U.S. 42, 48 (1984). In

other words, given “the predominance of the federal interest,” state laws that are consistent with

the purposes of § 1983 can apply, but those that conflict with its purposes should not. Id. Although

the First Circuit has not yet expressly weighed in on the availability of such damages in § 1983

claims, at least one judge in this District has already approved of an award of hedonic damages in

such a case. See Gonsalves v. City of New Bedford, 168 F.R.D. 102, 106 n.10 (D. Mass. 1996).

This Court should join Gonsalves, as well as the Seventh and Ninth Circuits, and hold that hedonic

damages are included in the suite of compensatory damages available for Plaintiff’s federal claim.

To hold otherwise would conflict with § 1983’s central purposes to “compensat[e]” people

“injured by deprivation of federal rights” and “prevent[] abuses of power by those acting under

color of state law.” Robertson v. Wegmann, 436 U.S. 584, 590-91 (1978).

       Here, denying recovery for Shayne’s loss of enjoyment of life would conflict with § 1983’s

dual purposes of compensation and deterrence. See Robertson, 436 U.S. at 590-91. Indeed, both

the Seventh and Ninth Circuits have reached just this conclusion when refusing to incorporate

Wisconsin and California state law prohibitions on hedonic damages into § 1983 claims. See Bell

v. City of Milwaukee, 746 F.2d 1205, 1239 (7th Cir. 1984), overruled in part on other grounds by



12
  See, e.g., Arkansas (Durham v. Marberry, 156 S.W.3d 242, 248 (Ark. 2004)), Connecticut
(Kiniry v. Danbury Hospital, 439 A.2d 408, 414 (Conn. 1981)), Hawaii (Ozaki v. Ass’n of
Apartment Owners of Discovery Bay, 954 P.2d 652, 671 (Haw. Ct. App. 1998)), New
Hampshire (Marcotte v. Timberlane/Hampstead Sch. Dist., 733 A.2d 394, 399 (N.H. 1999)), and
New Mexico (Romero v. Byers, 872 P.2d 840, 846 (N.M. 1994)).


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Russ v. Watts, 414 F.3d 783 (7th Cir. 2005); Valenzuela v. City of Anaheim, 6 F.4th 1098, 1101-

03 (9th Cir. 2021)13; see also Berry v. City of Muskogee, 900 F.2d 1489, 1506 (10th Cir. 1990)

(rejecting an Oklahoma state law that limited survival damages to property loss and lost earnings

as inconsistent with § 1983); McFadden v. Sanchez, 710 F.2d 907, 911 (2d Cir. 1983) (holding the

same for a New York law barring punitive damages in § 1983 survival actions). As Bell explained,

“if Section 1983 did not allow recovery for loss of life notwithstanding inhospitable state law,

deterrence would be further subverted since it would be more advantageous to the unlawful actor

to kill rather than injure.” 746 F.2d at 1239; see also Valenzuela, 6 F.4th at 1102 (“Prohibiting loss

of life damages would run afoul of Section 1983’s remedial purposes.”). The only circuit to come

out the other way on this issue, the Sixth Circuit, failed to grapple with the fundamental arguments

underlying the decisions of the other Courts of Appeal. See Frontier Ins. Co. v. Blaty, 454 F.3d

590, 601 (6th Cir. 2006).

       Because Massachusetts’s bar on hedonic damages is inconsistent with § 1983’s core goals,

this Court should not apply this provision of state law to Plaintiff’s § 1983 claim. Instead, if the

jury finds in favor of the Plaintiff on her § 1983 claim, she should be allowed to recover damages

for Shayne’s loss of life along with the full suite of compensatory damages under the

Massachusetts Wrongful Death Act.




13
  Indeed, in Valenzuela, the Ninth Circuit found that a $9.6 million award for pre-death pain and
suffering was insufficient to, without the benefit of an additional $3.6 million loss of life award,
adequately compensate the victim’s damages. Valenzuela, 6 F.4th at 1103.

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July 29, 2024                    Respectfully submitted,

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                                 CERTIFICATE OF SERVICE


       I hereby certify that, on July 29, 2024, I served the foregoing document on all parties by

filing it via the Court’s CM/ECF system and that a copy will be sent via the CM/ECF system

electronically to all counsel of record.


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